Case 1:20-6v-05028-GBD Document18 Filed 14/04/20 Page 1 of 4
Michael Faillace & Associates, P.C.

Employment and Litigation Attorneys

 

 

   

 

 

 

 

   

60 East 42" Street, Suite 4510 ! Telephone: (212) 317-1200
New York, New York 10165 i Facsimile: (212) 317-1620
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jbarton@faillacelaw.com i t
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We 4) November 4, 2020
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Via ECF
Honorable George B. Daniels, U.S.D.J.
United States District Court SOORDERED:

Southern District of New York
500 Pear! Street
New York, NY 10007 &

 Dorred.

. Daniels, U.S.D.J.

Dated:___ NOV0.5 wy
Re: 20-cv-05028-GBD Gomez. et.al v. New Toasties Deli, Inc.

 

 

Your Honor:

1 am an attorney with the office of Michael Faillace & Associates, attorneys for Plaintiff in the
above-referenced matter. We write to respectfully request the initial conference, currently scheduled for
November 12, 2020, be adjourned sine die. This is the first request of its kind.

Defendants have neither answered nor appeared and are in default. Plaintiff will be requesting
default certificates soon and will be moving for a default judgment within thirty days.

Thank you for your attention.

Respectfully Submitted,

/s/Jesse Barton _

Jesse Barton

Michael Faillace & Associates, P.C.
Attorneys for Plaintiff

Certified as a minority-owned business in the State of New York

 

 
